Case 3:19-cv-O4753 Document 1-26 Filed 02/05/19 Page 1 of 26 Page|D: 379

 

i. Manui'acturer's Website: www.defdist.org

). Commodityl$ervice Website: htth/deicad,com/sound~moderator/

Note: Only one commodity may be entered; variants require separate submission However. variants of a commodity or a family of commodities closely related. that
is. major characteristics and descriptive information of the commodity are essentially the same and would be included in the same U.S. Munitions List category and
subcategory may be considered

 

6. Adiiltlor\al Corrimodlty bilormatlonlbocturiontation:

(Brodiures. Technical information Drawings. Schernat`ics. Blue Prints. Course Syllabus/l'iandouts. Tra'ining Materialsi Attach product datasheet or other tedinical
information such that an informed technical eva|iotion is possible.l Note: cost in U§. Dollars. ii unit is not listed in drop down list. e.g service or training enter the
commodity.

 

a CostPer \)nit: 50.00 Copies
b Documentation Attached: g
c. Patentlnionnation~. nla

 

 

7. Commodltyl$ervlc¢ oe“riptlon: iiimited to 1200 characters
Brief summary of commodity or service le.g. component used in aircraft communication systemi. Describe the products use (what it does. how it operates the
components/system in which it is used and all current usesi. Specify if commodity/service is controlled or restricted for public release by U.i Government.
sa rap ra o as ponsou tot ranairgun ,i p ona nter. wo anairgun. ut
uld likely melt llused witha firearm

 

l. ldontly any special and/or unique cbaractoristkalcapabilitias: tMarit all boxes that apply and provide expianationldescriptionl
a. g Designed to military or intelligence standards or speciiications

b. m Designed for military application

c g Special characteristics (eg. radiation-hardening ballistrc protection. hard points, TEMP£ST capability. thermal or infrared signature reduction capability.
‘ surveillance or intelligence gathering capabilityl.

d [] Commercial item moditled for military application provide nomenclature and model number to differentiate from commercial item.
e [:| Commerciai item modihed lor military application. state specific distinct difference between original commercial item and modified item
f. [j Servlces (provide comparable information as that which provided above and by marking this box, indicate it is for services versus hardwarel

Explanation/Description (lf the product is included in a higher assembly or end ltem. identify each higher assembly or end item that incorporates the product and its
use. identify al military applications and military capabilities of the product and any equivalent products used for military application.i Summarize technical details of

F;_cial characteristics (e.g: if im intenschation tubes. provide level of My. such as Gen li. t‘sen iil. etci. {ilmited to 600 choracters)

 

 

miners

 

9. Miidryl€orrlnorclal Morlfkatlon of Commodity:
a. Was this commodity originally specifically designed or developed lot a military usel
m Ves g No
b. Was this commodity originally civil and subsequently adapted. conliqured or modiiied for a military use?
m Yes g No
c. Was this commodity originally military and subsequently adapted. recoriBgured or modi&ed for commercial use?

[:] ¥es g No
d Speciilcally deline the modillcations/changes and capabilities added to the commodity List any differences in lorrn. fit andr'or function between the modified and
unmodified versions: ilimit¢d 10600 characterti

F’r g

[:] Supporting Documentadon Attached

 

 

10. Statuo of induce development (Marit the status of the product and provide an explanatiori/descnptionl
a § in Deveioprnent
b. [:} ln l.lse
nation/Description illmired to 4000chorocrcrsl
o the best ofl)efense Oistrlbi.ited`s knowledge this tile is conceptual in nature and has not been used to produce the plastic model ol the sound moderator.
m Supporting Documentation Attached

 

11. Fundngl'iinory: iChecltallthatapplyl
include funding source contract or subcontth number and supporting documentation

a [] usc Agency

b. |:] Foreign Government Agency

c m US. or l-'oreign Conttactor

d E Self Furded

e. [:] University Funded

Explanatlon/De$ctlption limited lodwcharacter!}

ila the best of Del‘ense Distributeds ltnowledge. viii received no funding from any outside source for the creation of the tile l

 

 

 

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Case 3:19-cv-O4753 Document 1-26 Filed 02/05/19 Page 2 of 26 Page|D: 380

 

m Supporting Docurnentation Attached

 

ll U.S. and/or Forelpn Avaihblllty of identical Frodicts: (Enter Foieign E.xport Controls. il known) `
m ~°~ _
Remove lam

Manufacturer' Viit
Cornn'\odlty~. Sound Moderator CAD file

 

 

 

 

 

 

 

Mode| l: NlA ln usdin Developrnent. in Use

Foreign Exports Conb'ol:

Manufacts.irer‘s Website: htth/www.thingiverse.com/thingm

E.iiplanat`ion/Description (limited to600 charactersl

55 file was published on Thingiverse on March 3, 2011 and is still available on that site j

 

g Supporting Documentation Attacl\ed

§._ales_lnliztmatlm

13. Sales informations i$elect One) (See Blocii ll Templatel
Military and commercial sales data must be provided. as well as listing of the military and commercial customers The information pertains specifically to the cornrnodity/

service in B|oclt B. Complete the attachment if applicable (Note: Submit one single file up to JSMB with sales information Do not separate the sales information into
multiple smaller tilesl
m Sales information Attacl\ment Ump]atg 'IQ;L \,} §g_|g§ lnlgrmatrgn')Attached

g No Sales
l§._td_iseilai_\so_iis_lttfsr_m_et!m
14. lies this ¢ommod¢y been: (limlred to lw chamcters)

a. Has this Commodity been Freviously Exported
if yes cite iJS. Govemment licensing jurisdiction and provide license number, if applicable

 

 

®¥es [jNo UUnltnovvn

lasted to the tnternet as public domain information

 

b. Has this Commodity been the subject of a Prior C.i? m Y°‘ l:l N° g u"""°’”"
lf yes, Cite 0 Nurnber.
(Applicant should list any prior Ci even if not submitted by them e.g.. submitted by Original Equipmer\t Manufacturer iOEM). by the U.S. Government or by a third

 

fly.l l

 

 

c Has this Commodity been subject to a Department of Commerce classification kequest? [] "“ [:] N° E u“l"’°"“
if yes, cite U$. Government licensing iurisdiction and if under Departrnent of Commerce. attach a copy with E)tport Control Classification Number (ECCN).

 

ii. los this commodity been txaortea under a rareigri unitary sale ii=Ms) user lj res ij No Eunwown
if yes. cite Foreign Military Sale iFMSl case number.

 

 

15.Deacrlptlor\ddtamw»dhyadhndbm(u€on*l'll§pomdond\eb°f(vabshebrptbicxnubasedonthelnformatlon pmidediril|o¢h$and
anyod\erdescrlptlvelnformatlor\provldedbelow.lfyou bellevethatany lnfonnedonoontalmdlnllock$bpmprhtuy,pleaeespadkalylden¢lfyth

information belowandprovldest.m\osariaed rationale for DDTCao consider withholding the information from publcootica: lum/ted to600diarocters. Addiuonoi
justification moybeprovidedasonotradrmentj

[N/A l

 

16. laasonfor$ubmlttlng €Jt rlirrvredraaoocliorocrm)
|Fer request oroch/trio. case tie ta-oooiwi. l

 

11. Suggested U.$. Miutitlons l.lst or¢orrtmeree control l.ist lambert

a. U.S. Munitions List (22 C.F.R 121 l Categoryl$ub Category

[~/A |
b Export Adrriinistration Regulations (lS CF.R 730-774). Export Coricrol Ciassi&cation Number

N/A

18. Ot|\er Mlscelar\eoits lnfor'matlon lobe(or\alderedthatls not Other'isrlsalndu*d in this Form: (e.g U$.Governrnent Agencyand pointofcontact informatior'i.i
(Iimited toJOOcharoctersl

 

 

 

 

 

 

g Supporting Docurnentation Attached

 

 

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Case 3:19-cv-O4753 Document 1-26 Filed 02/05/19 Page 3 of 26 Page|D: 381

 

 

 

1 9. kppllcantl$ubmltter's Certiflcation: Note: ONLV this one page must be printed, slgned, and scanned as an attachment
Under Penalty According to Federal Law (See 22 CFR 127, 22 U.S.C. 2778, and 22 U.S.C 100l).
l am the authorized employee of the company cited in Blodi l. or a third party as described iri Blodi 2 authorized to submlton behalf ol the company in Biodi 4. and

certify as to the accuracy and complete v of misinformation provided and have not lmowingly omitted information that could have an impact on the Gnal
determination issued by the 05. Dep em of State. Fu{thennore, l have spedic authority to release for publication the text contained in Bloclt 5.

/ ov- \ ` \> uhm~\.i-imwig osm/2013

' / Si§natuie “_ .- -' Printed Name Date
® checking this box, App|icant a:g:.lcge:'l)m'®ail the Commodity ituisdiction determination as well as any other information associated with this case.
Comrnodity Jurfsdictlon de nation mailed to the address below if box ls not checlted.
/‘ame. iahna M. Hartwig
Title: Panrier
Comoanr. MN_iarns Mulien FC
Address: 1666 K St. NW. Sulte 1200

 

 

 

 

 

 

 

Clty: Washington Svte: DC Zip Code. 20006
Phone |: 202-293-8|45 Emoil: jhaMM]llamsmullen.com
las-lora Page 5 of 5

0\-10\.\

 

 

1. Applicant's lnformation: (Select all that lpplyi
Appiicantis: E] Government [:] Manufacturer [:| F.xporter [:] Manufacturer's Representative® Other

 

 

 

 

 

Appiicant Name: if s , c , ‘ ~ Defense Distributed

Address: 711 W. 32nd Street, Apt. 115

City. Austln State: TX Zip Code: 78705
Phone l: 501-743~9680 PM/DDi'C Regi'strant Code: m appiicab|e)

 

   
 

ss`s;~.u.ci»\.ii‘.-.'Lii~'..i
Name: imm orcoiiimi Cody R. Wilson
Phone ¢: 501-743-9680 Fax 02 Email: Mfdist.org

 

2. Submltter information if other than Applicant in Biock 1: (Compiete if applicable)

 

 

 

 

 

Submitter Name: if , , n , ' Williams Mullen PC

Address: 1666 l( St., NW, Sulte 1200

Ciqn Washington State: DC Zip Code: 20006
Phone I: 202-293-8145 PM/DDTC Registrant Code: (if applicab|e)

 

 

Name: (Poini arcoriimi Jahna M. Hartwlg

 

 

 

 

 

Phone |: 202-293-814$ Fax ii: Email: il'iartwiggwliiiamsmuilen.com

m Attachment: Agmmjzat|gn from Applicant to Submmer authorizing submitter to file on its behalf and to release information in Biock S.
_ d
3. Transactlon Descriptlon: (Note: No request involving Classihed lnformation will be considered.)

This Appiication Represents:

a~ g New Request

b' l:l Resubmission Prior CJ Case Number.

 

ij stemmed wiiiioui Aciiori inwA)
l:l Reconsideration (lnciude Prior Ci Determination Case Number)

Summarize Reason for Resubmission (ilrnired ro 1200 characters

 

Reiated to Compliance Matter illmnedro lzoochaiaciers) § ¥es [:l No

 

 

 

 

4. Select Commodity Type; (Select ali that appiy) 122 C.F.R 120.9. 120.10 and 121 .8)
m End item l:l Component/Major m Component/Mi'nor l:] Part l___l Accessory/Attachment
l:l Software m Flrmware m Services m System g informationorTechnicaiData

 

5. Commodltyl$ervice fnfortnation: (Note: Complete all that apply and if not applicabie, enter 'N/A".)
a. Product Name: 12 Gauge to .22 CB Sub-Caliber insert Data Files
b. Model/Version Number. N/A
c. Part Nurnber: N/A
d. National Stocit Number: N/A
e. Other ldenti"er: ilfappiicabie) N/A
f.
9

 

 

 

 

 

Manufacturer: Pietro
. Service~. N/A
h. Generic Description: SKP CAD file. renderings and text file describing a sub-caliber insert
ids-1076 Page 2 of 5

01-1013

 

Cnce 3-10 r\\l n/|7l:’.) D

v vv v_rl`lu

.E
utu l
i. Manufacturer's Website: wwwdefdist.org

nl hhlr\|_l l'\ r- r\r\ l-\ ir\ r\r\»\
Cu uLlqu J.U l"agc J u LU l"d.gClU. 066
j. Commodity/Service Website: htth/defcad.com/i 2-gaugetdZZcb-sub<aiiber-insen/

Note: Only one commodity may be entered; variants require separate submission. However, variants of a commodity or a family of commodities closely reiated. that
is, major characteristics and descriptive information of the commodity are essentially the same and would be included in the same U.S. Muriitions Llst category and
subcategory may be considered

 

6. Additlonal Commodity Information/Documentatlon:
(Brochures. Technical lnformation, Drawings, Schematics. B|ue Prints. Course Syllabus/Handouts. Training Materials.) Attach product datasheet or other technical
information such that an informed technical evaluation is possibie.) Note: cost in U.S. Doliars. if unit is not listed in drop down list. e.g. service or training, enter the
commodity.

 

a. CostPerUnlt: $0.00 Copies
b. Documentatlon Attached: g
c Patentlnformation: n/a

 

 

7. Cornmodityl$ervlce Description: (iimited to 1200 characters)
Brief summary of commodity or service (e.g. component used in aircraft communication system). Describe the product's use (what it does. how it operates, the
components/system in which lt is used and all current uses). Specify if commodity/service is controlled or restricted for public release by U.S. Govemment.

e es are a CAD file for a model of a sub-caliber insert two renderings of the sub-caliberinsert. arE a 'read me"text file providing information about the
pa

 

tionai Firearms Act and the Undetectable Flreanns Act. This item. if printed on a 30 printer. would be a plastic cylinder with a .22 bore, and would be expected to
all if used with a weapon.

 

 

8. identify any special and/or unique characteristics/capabilities: (Mark all boxes that apply and provide explanation/description)
a. m Designed to military or intelligence standards or specifications

b. g Designed for military application

m Specla| characteristics (e.g. radiation»hardening, ballistic protection. hard points. TEMPEST capability. thermal or infrared signature reduction capability,
surveillance or intelligence gathering capabilityi.

d. [] Commercia| liem modified for military application provide nomenclature and model number to differentiate from commercial ltem.
e. m Commercial ltem modified for military application, state specific distinct difference between original commercial item and modified ltem.
f. |:] Services (provide comparable information as that which provided above and by marking this boir. indicate lt is lor services versus hardware).

Explanation/Description (if the product is included in a higher assembly or end item, identify each higher assembly or end item that incorporates the product and its
use. identify ali military applications and military capabilities of the product and any equivalent products used for military application.) Surnmarize technical details of
special characteristics (e.g. il image |ntensilication tubes, provide level of technology. such as Gen ll, Gen il|. etc.). (llmited to 600 characters)

rl/A

 

L_Eco_diis_Qcisln

 

9. Militarleommercial Modification of Commodity:
a. Was this commodity originally specincally designed or developed for a military use?

[:] Ves g No

b. Was this commodity originally civil and subsequently adapted, conflgured or modified for a military use7
[:] Yes E No

c. Was this commodity originally military and subsequently adapted reconfigured or modified for commercial user
[:] Yes E No

d. Specifically define the modifications/changes and capabilities added to the commodity. List any differences in form, fit and/or function between the modihed and
unmodified versions: (limited to 600 characters)

rl/A

[] Supporting Documentation Attached

 

 

10. Status of Product Developrnent: (Mark the status of the product and provide an explanation/description)
a. g in Development
b, [:| in Use
Explanation/Descrlption {lirnited fo 4000 characters)
l[:the best of Defense Distributed's knowledge, this file is conceptual in nature and has not been used to produce the insert
[:] Supporting Documentation Attached

 

11. Funding History: (Checit all that apply)
include funding source contract or subcontract number and supporting documentation

a. [:] USG Agency

b. |:] Foreign Governrnent Agency

c. m US. or Forelgn Contractor

d. g Seif Funded

e. [:] University Funded

Expianation/Description (iimired ro 600 characters)

li:'i the best of Defense Distributed's knowledgel Pietro received no funding from any outside source for the creation of the file. :|

 

 

 

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f`»:c\n ’.)-'|O r\\r n/l7|-'\Q F\r\r\llmnn'l' 1 ’)R LUndD')/n|-_\/'l
VM\J\.¢ Va-I-\l \J\l V_l'l `I\.l I_I\.I\J \.'l lL -I- I_V l ll\.¢u Vl_l vv| -I-
g Supporting Documentation Attached

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tn

 

12. U.S. and/or Forelgn Avaliability of |dgm]_cg] Products: (Enter Foreign Export Contro|s. if known)
E None

   

Manufacturer:

 

Commodity_

 

Model #: in Use/in Development:

 

Foreign Exports Controi:

 

Manufacturer's Website:

 

Expianatlon/Description (llmited ro 600 characters)

C] Supporting Documentation Attached

E.S in

13. Sales lnforrnation: (Select One) lSee Biock 13 Tempiatel
Military and commercial sales data must be provided. as weil as listing of the military and commercial customers The information pertains specifically to the commodity/

service in Block 8. Comp|ete the attachment if applicable (Note: Submit one single file up to 35MB with sales infonnation. Do not separate the sales information into
multiple smaller files.)

[] Sales lnfomiation Attachment CLemplate_‘E|ggi_t__B_§a|g§_|mmg_qnj)Attached
E No Sales

Mmhmam
14. Has this Commodity beam (llmited to iOOcharacrers)

a. Has this Commodity been Freviously Exported g Y€S m NO E] Unknown
if yes, cite U.S. Govemment licensing jurisdiction and provide license number, if applicable

 

 

 

 

sted to the internet as public domain information.

b. Has mrs commodity been the subject or a Prior cJ.r [l Y€S l:] N° ® U“k'\°‘~“
if yes, Cite C.l Number.

(Appiicant should list any prior CJ even if not submitted by them, e.g., submitted by Original Equipment Manulacturer iOEM), by the U.S. Govemment or by a third
god

c. Has this Commodity been subject to a Department of Commerce Classification Request? El Yes El N° g unknown
if yes, cite U.S. Govemment licensing jurisdiction and if under Department of Commerce. attach a copy with Export Control Classlfication Number (ECCN).

d. Has this Commodity been Exported under a Foreign Military Sale (FMS) case? El V€S m NO EUnknowh
if yes, cite Foreign Military Sale (FMS) case number.

 

1$. Description of the commodity and final DDTC action will be posted on the DDTC website for public access based on the information provided in Blocit 5 and
any other descriptive information provided below. if you believe that any information contained in Blocit 5 is proprietary, please specifically identify the
information below and provide summarized rationale for DD'¥C to consider withholding the information from public notlce: (Limlted to600characrcrs. Additional
justification may be provided as an anachment.)

[N/A ]

 

16. R¢Isol\ for Subi'i\l\tlng CJ: (llmited 10600choractertl
|l’er request of DTCUEND. Case No. XX-XXXXXXX. ]

 

‘l7. Suggested U.S. Munitions List or Commerce Control i.ist Number:

a. tJ.S. Munitions List (22 C.F.R. 121) Category/Sub Category

im l
b. E.xport Administration Regulations (i$ C.F.R. 730-774). Export Controi Classification Number

|~/A ]

 

18. Other Miscellaneous information to be Considered that is not Otherwise included in this Forrn: (e.g. U.S. Government Agency and point of contact information.)
(I/`mlred to 300 characters)

 

 

 

 

g Supporting Documentation Atrached

 

 

 

usaon Page 4 ofS
oi-zoil

Case 3:19-cv-O4753 Document 1-26 Filed 02/05/19 Page 7 of 26 Page|D: 385

 

 

ll

 

19, App|lcantl$ubmittefs Certificetion: Notr.'. ONLV this one page must be printed. slgned. and scanned as an attachment
Urtder Fenalty Accordlng to Federal Law (See 22 CFR 127. 22 U.S.C. 2778. and 22 U.S.C. lOOll.
i am the authorized employee of the company cited in Block i. or a third

certify as to the accuracy and complete
determination issued by the U.§. Depart

party as described in B|ock 2 authorized to mbmit on behalon the company in Biodt 4, and
of the information provided and have not knowingly omitted information that could have an impact an the final
of State. Furthermore. | have pacific authority to release for publication the text contained in Block 5.

f

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hna M. Hartwig 06/21/2013

Printed Narne Date

Commodity .iun`sdiction determination as well as any other lnfonnation associated with this ase.
n ll be mailed to the address below if box is not checked.

/ / Sig'nat¥re

By ecldng this box. Apolicant authorizes

v
’A‘ a continuity waterman den

me lahna M. Hartwig
Tide: Partner

 

 

 

 

 

 

 

 

 

 

 

Company. Wiliiams Mul|en ?C
Address: 1666 K Sl.. NW, Sulte i200
Clty: Washlngton State: DC Zip Code: 20006
Phone ¢: 202~293-8145 Ernaii: hartwi liamsmuiien.com
bunn

Page § eis
or-zora

Case 3:19-cv-O4753 Document 1-26 Filed 02/05/19 Page 8 of 26 Page|D: 386

 

1. Applicant's ln|ormation: (Sekct all that applyl
Applicantis‘ g Government m Manufacturer [:] Exporter [] Manufacturer's Representative® other

Applicant Nam€. tconwriy.orgmmiinni Delense Distributed

Address: 711 W. 32nd Street. Apt. 115
City: §_\_istin State: TX le Code: 78705

Phone I: 501 -743-9680 PMIDDTC Registrarit Code: (lf applicablel

   

Name: mmcom¢u Cody it Wilson
Phone I: 501»743~9680 Fax I: Ema|l: crw@deld_i_st.org

 

 

2. Submlttar lntom\ation lfothar than Applicant in Biock 1: tComplete ii applicable)
Submlner Name: itomi»m.°'awimimi) Wiliiams Mullen PC
Address: 1666 it St. NW, Suite 1200
City: Washiggton $tate: DC Zip Code: 20006
Fhone |: 202-293¢814$ PM/DDTC Registrant Code: (if applicabiei

mf;i»;li:_»;

Name. ivaini~icmuni .lahna M. Hartwi'g
Phone I: 202-293-8145 Fax I; Email: ihartwiqg~illiamsmul|en.com
m Attachment: Agmgnzangr_\ horn Appiicant to Submitter authorizing submitter to lite on its behalf and to release information in Block S.

l f

3. Transaction Descrlption: (Note: No request involving Ciassined information will be considered.)
Thls Appllcati'on Represents:

1 13 New itequesr

bi l:] Resuvmission prior ci case Number.
l:| nemer without wion iiiwAi
m Reconsideratlon (lnciude PriorC.l Deterrnination Case Numberl
Summarize Reason for Resubmission mmiieaw izooaiam<i¢rs)

 

 

 

 

 

Related to Comp|iance Matter ilimiiedio izwcharocrers) ® Yes D No

li es. rovide disclosure and/or case number if available) and details to include U S. Government Point of Contact. ll status chan » » advise DDTC.
ase '~" sd ssu-mtt~att erequesto l inits etterto» ' . 4

       

- allst is assigned to this matter is Ms Bridget Van Buren

 

 

4. Sa|act Commodlty Typa: lSelect all that applyi (22 C.F.R 120.9. i20.10 and 121.8|

 

 

 

 

 

 

 

 

 

 

 

n End item l:] Component/Maior m Component/Minor l:] i>art l:l Accessory/Attachment

m Software l:] Firmwaie m Services m System g information or Tectir\ical Data
5. Commodity/Sarvice lnformatlon: (Note: Comp|ete all that apply and il not applicable enter "N/A'.)

a. Product Name: 'The Dlrty Diane“ Oil Filter Si|encer Adapter Data l~”i|e

b. Mode|/Version Number: N/A

c. Pan Number. N/A

d. Nat|onal Stock Number. N/A

e. Other ldenrifier; iii appii¢miei N/A

l. Manuiacturen emptythemagazine

g Serv|ce: N/A

h. Generic Descriprion: SoiidWorks CAD data me for an oil filter silencer adapter
insure Page 2 ai 6

0\-20\]

Case 3:19-cv-O4753 Document 1-26 Filed 02/05/19 Page 9 of 26 Page|D: 387

 

i. Manufacturer's Website: www.defd`rstorg

). Commodity/Service Website: httpi/defcad.com/the-dirty-diane-l 2-28»to-34-l6-stp-s3600-oil~filter-silencer~adapter/

Note: Only one commodity may be entered; variants require separate submission However, variants of a commodity or a family of commodities closely related, that
is. major characteristics and descriptive information of the commodity are essentially the same and would be included in the same US. Munitions L|st category and
subcategory may be considered

 

6. Additlonal Commodity lnformationlDocumer\tation:

lBrochures, Technical lnformatlon. Drawings. Schematlcs¢ Blue Prr'nts. Course Syliabus/Handouts, Training Materials) Attach product datasth or other technical
information such that an informed technical evaluation is possible.) Note. cost in US. Dollars. if unit is not listed in drop down list. e.g. service or training, enter the
commodity

 

a. Cost Per Unit: $0.00 Copies
b. Documentation Artached: g
c. Patent information: n/a

 

 

7. Commedltyl$ervice Description: firm/ied to 1200 characters)
Brief summary of commodity or service (eg. component used in aircraft communication systemi. Oescribe the product's use lwhat it does. how it operates. the
components/system in which it is used and all current usesl. Specify if commodity/service is controlled or restricted for public release by uS. Govemment.

e e s a omputer esign ata e in t e or s e ormat or a m an o ter s enter a ptth is typically produced in
tainiess steel. ll printed on a 30 printer, this item could be used as solvent trap adapter, which is used to catch solvents that are used in the process of cleaning a gun.
lle a meLa_l solvent trap adager could be used as a silencer. a plastic adapter would likely melt if used with a weapon as a silencer.

 
 
  

 

 

 

B. identify any special and/or unique charactedsticslcapabiitties: (Marlt all boxes that apply and provide expianation/descrlption)
a. g Designed to military or intelligence standards or specifications

b. m Deslgned for military application

m Speciai characteristics (eg. radiation-hardening ballistic protection, hard points. TEMPEST capability, thermal or infrared signature reduction capability,
' surveillance or intelligence gathering capability).

d.D Commercial item modified for military application. provide nomenclature and model number to differentiate from commercial ltem.
e. m Commerciai item modified for military application state specific distinct difference between original commercial item and modified item.
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Expianation/l)escrlption (lf the product is included in a higher assembly or end item. identify each higher assembly or end item that incorporates the product and its
use. identify all military applications and military capabilities of the product. and any equivalent products used for military application.) Summarize technical details of
ss%' l characteristics ge.g. if image intenslhcation tubes, provide level of technology, such as Gen il. Gen lli, etc). (llmited rooOOchamcters_L

 

[Eiedm§ddin

 

9. Military/Commercial Modification of Commodity:
a. Was this commodity originally specifically designed or developed for a military use7

m Yes g No

b. Was this commodity originally civil and subsequently adapted. configured or modified for a military use?
[] ¥es g No

c. Was this commodity originally military and subsequently adapted reconflgured or modified for commercial use?
g Ves g No

d. Specilically define the modifications/changes and capabilities added to the commodity. List any differences in form, fit and/or function between the modified and
unmodified versions: (llmited to 600 characters)

rl/A l

[:| Supporting Documentation Attached

 

10. Status of Product Devalopment: (Mark the status of the product and provide an explanation/description)
a. E in Development

b. |:] in Use
Ex anation/Descriltion mmired to 4000 characters)

o the best of Defense Distributed's knowledge this file is conceptual in nature and has not been used to produce a plastic oil filter silencer adapter
f:] Supporting Documentation Attached

 

11. Funding History: (Check all that apply)
include funding source contract or subcontract number and supporting documentation

a. [] USG Agency

b. [:] Foreign Government Agency

c. g U.S. or Foreign Contractor

a. g seii Funded

e. m university Funded

Ex nation/Description (Iimited to 600chamcrers)

o the best of Delense Distributed's knowledge emptythemagarrne received no funding from any outside source for the creation of the fiie. ]

 

 

 

054076 Page 3 016
Dl-}Dll

Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 10 of 26 Page|D: 388

 

ij Supporting Documentation Attached

 

12. U.S. and/or Foreign Availability of identical l’rodu¢ts: iEnter Foreign Export Controls, if known)
m None
anew ’ d m "m ~;~`,

Mariufacturer: infinite Product Soiutions

     

Commodity Stainless So|vent Trap \/2»28 3/4-16 Thread Oil Fi|ter Adapter

Model I: N/A in Use/in Deve|opment~. In Use
Foreign F.xports Control:
Manufacturer's Website: http'J/www.infinitgproductsolutions.com/

 

 

 

Commodity. 1/2~28 ID X 3/4 - 16 Black Anodized Solvent Trap
Modei |: N/A ln Use/in Development: in use

Foreign Exports Controi:
Manufacturer's Website: wwwamazon.com/s/ref=bl sr automotivei encoding=uTFB&field-brandtextbin=Dead%ZD|ron%ZoMachinlng&node

 

 
 

 

 
 
  

tems nc u ri s sect on are examp es o ys ca pr ucts ava a e n sta n ess stee . rat er an the identical CADWesKolventTrap Adapters are ava e
om numerous manufacturers and available as commercial products on many websites. including amazon.com. (see httpy/www.amazon.com/s/ref=nb_sb_noss_l?
rl=search¢lias%§Dautomotive&fieid-keywords=solveni+trap+adapter&rh=n%aAi5684\81%2Ck%3Asolvent+trap+ada_pter)

® Supportlng Documentation Attached

 

 

13. Sales lnforrr\etlon: (Select One) iSee Block 13 Template)
Military and commercial sales data must be provided, as weil as listing of the military and commercial customers. Tlie information pertains specifically to the commodityl

service in Blocli 8. Compiete the attachment if applicable (Note: Submit one single file up to 3SM8 with sales inlormation. Do not separate the sales information into
multiple smaller files.)
13 Sales lnforrnation Attachment amme_fij_o_cm§a|gs_ln[pm_iatign%nached

g No Sales

 

 

1|. Has this Commodity been: (Iirriited to 100 characters)

 

 

a. Has this Commodity been Previousiy Exported g yes m N° l:] unknown

ifyes. cite U.S. Goverriment licensing jurisdiction and provide license number. if applicable

hosted to the lntemet as public domain information l
b. Has this Commole been the subject of a Prior C.i? m Y'~'$ m N° 8 u'*"°'m

lf yes, Cite 0 Number.
(Applicant should list any prior CJ even lf not submitted by them. e.g.. submitted by Original Equipment Manufac\i.irer (OEM), by the US. Govemment or by a third

pa"¥~)

c. Has this Commodity been subject to a Department of Commerce Classificatiori Request? ij Ye$ L_.l N° g U"""°W"
lfyes, cite Ll.S. Govemment licensing jurisdiction and if under Dejiartment of Commerce, attach a c@y with Export Control Classification Number (ECCNl.

 

d. Has this Commodity been Exported under a Foreign Military Sa|e (FMS) case? l:] V¢S m N° EU|'\\U\OW\’\
lf yes, cite Forelgn Military Saie (FMS) case number

 

1$. Descrlptlon of the commodity and final DDTC action will be posted on the DDTC webslte for public access based on the information provided in Block 5 and
any other descriptive information provided below. lf you believe that any information contained in Blocit S is proprietary. please specifically identify the
information below and provide summarized rationale for DDTC to consider withholding the information from public notices (Limlred r0600characiers Addiri'onal
justification may be provided as an orrochmenr.}

lN/A l

 

16. Reason for Submltting Cl: (llmited ro 600 characters
|f’er request of DTCC/ENO, Case No. 130001444. l

 

17. Suggested U.S. Munitions List or Commerce Control List Number:
a U.S. Munitions List (22 C.F.R. 121) CateMy/Sub Category

 

 

 

 

 

 

 

|N/A l

b. Export Administration Regulations ii 5 C.F.R_ 730~774). Expori Controi Classification Number

lN/A l
054076 page 4 of 6

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Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 11 of 26 Page|D: 389

 

18. Other Mls¢ellaneous Informnion to be Consldered tha is not Oth¢rw\se lnc|uded in this Form: (e.g. u.S. Govemmenx Agency and point of contact informanon.)
mmlred lo 300 chalacterx}

 

 

 

 

g Supponing Documemation Attached

 

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amon P»ge$o\‘é

 

Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 12 of 26 Page|D: 390

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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§._Aml!sanu§umm¢lis_€£mfisimn
19. Applland$ubmll\er's cen|sz\km: Note OM.V this one page must be printed slgn¢d. and scanned as an attachment
Undef Pena|ly Mcofding to Fed¢n| law (See 22 CFR 127, 22 U.S.C. 2778, ind 12 U§.C 100\ ).
lam theau!hodzed employeeofmecompany cited ln B|od¢ \,ora \h|rd panyasdescrfbed \n B|o¢kz authorized to submiton beha|fofmecompany|n Biodm. and
certify as !o the accuracy and completeness of me mformauon prov\ded md have not \mowlngly omitted woma!\on that could have an impact on the hnnl
determination lssued by the U.S. Depmmm\ of Sme. Fonhermove. l have specific authority to refuse for publication the ten contained ln Blod S.
----,` hhna M. Hart!g .0£/21/’2013
/ S%gna Printed Name Date
d\eddng thks box. zes DOTC to emai| !he Commodity jurisdiction determ|mclon as well as any other |nfonmticn associated with this clse_
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Namc: Juhna M. Hmwlg
T|tle: Fattr\er
Companyt W|I|ams Mu|len FC
Addres: l666K SK. NW Sune1200
Clly. Wasthon Shte: DC le C°¢¢ 2°0°6
Fhone |: 312~293-8145 Emall: [hanwlMl|ammul|en.com
owen F¢q¢ 6 d b

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Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 13 of 26 Page|D: 391

1. Applicant‘s lnformation: (Sel¢<t all that applyl
Applicantis: m Govemment [:] Manufacturer E] Exporter m Manufacturer's Representative@ other

App|icant Name: icam¢»ny. o,qsrmmm Defense Distributed

Address' 71 l W. 32nd Street. Apt_ t iS

Clty: Austln 5¥3!61 TX le Code. 7870$
Phone |: 501-743-9680 FM/DDTC Reglsuant Code: m applicab¢e)

 

 

 

Name mmcme C.ER Wilson
Phone l: 501-743~9680 Fax az Emall: cn~@defdist.org

 

2. Submer information ll other than Applkant ln Blo¢lt 1: (Complete il applicable)

 

 

 

 

 

Submitter Name: rr , , r», Wiliiams Mullen PC

Address: 1666 KSt.. NW. Sulte 1200

C|fy: Wa$hirgt°n $h“e: DC le Code: 200%
phone |: 202-293~8\45 PM/ODTC Reglstrant Code: (|fapp|iab|e)

 

 

 

.t » ‘ ult',»:ulu »1

fm ' ` " "` ` _' ' *’H*‘*`__*"'*"

Name: omni vacuum Jahna M. Hanwig

phone ¢: 202-293~8145 Fax az Erna|l: [llrtgi_g§wi|liamsmullen.com
[] Attachment: AuMiza_tjgn from Applicant to Submitter authorizing submitter to file on its behalf and to release information |n Block S.

3. Transactlon Dasq-lption: (Note: No request involving Classified lnformaiion will be considered.l
This Application Represents:

3' 5 New Request

b-D Resubmission Prior CJ Case Number:
El named without minn inwA)
[:l Reconsideratlon ilnclude Frlor C) Determinatlon Case Number)
Sumrnarize Reason lor Resubmlsslon rumlr¢dro imcnaracren)

 

 

 

 

 

Related to Compiiance Maner mmn¢dm rzoo¢nam¢rm; ® Yes [] No

ll es rovlde disclosure and/or case number (if available and details to include U. S Govemment Foint ofContacl. if status chan as advise DDTC
ase rs s su rn tt at erequest n ts etter to ense rstn ut at

alist ls assigned to this matter is Ms. Bridget Van Buren.

  
  

   
        

 

 

4. Sele¢t Commodity Type: (Sele<t all that applyl (22 C.F.R 120.9, 120.10 and 121.8)

 

 

 

 

 

 

 

 

 

 

 

m End item m Component/Major ij Component/Minor n Part l:] AccessorylAttachment

m Software m Firrnware g Services m System g information or Technica| Data
S. Commodity/win Intormatlon: (Note: Comp|ete all that apply and ll not applicable, enter ‘N/A°‘.)

a, Product Name: Voltlock Electronlc Bladt Powder System Data Flles

b. Mode|Nersion Number: N/A

c. Part Numben N/A

d National Stock Number: N/A

e. Other ldentifier: (iiapplicable) N/A

f. Manufacturer: Mozi

g. Servicz N/A

h. Generic Description: STL and lGS CAD files for models of cylinders of various bores with a touch hole
054076 Fage z 016

01-?0|1

Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 14 of 26 Page|D: 392

 

i. Manufacturer's Website: www.defdist.org

1. Commodity/Service website: hrth/deicadconvvoltlock-biack-powder/

Notr.». Only one commodity may be entered; variants require separate submission However. variants of a commodity or a farnin of commodities closely related, that
is, major characteristics and descriptive information of the commodity are essentially the same and would be included in the same U.S. Munitions List category and
subcategory may be considered `

 

6. Additional Commodity lnformation/Documantation:
(Brochures, Technical information Drawings. Schematics, Blue Prints. Course Syllabus/Handouts, Training Materia|s.i Attach product datasheet or other technical
information such that an informed technical evaluation is possibie.) Note: cost in US. Doilars. if unit is not listed in drop down list, e.g. service or training. enter the
commodity

 

a. Cost Per Unlt 50.00 Copies
b. Documentation Attached: m
c. Patentlnformation: nra

 

 

7. Commodity/Sarvice Descrlption: (iirnlred to 7200 characters)
Brief summary of commodity or service (e.g. component used in aircraft communication system). Describe the product's use lwhat it does. how lt operates. the
components/system in which it is used and all current uses). Specify if commodity/service is controlled or restricted for public release by US. Government.

e esaretweve es orrn so n erso varous reswi atouc oe. evenot esarent eormatan onesnte mac
hose pieces were printed on a 30 printer and used with an electronic lgnition. the barrel would be Mfail.

 

 

 

8. identify any special and/or unique characteristics/capabilities (Mark all boxes that apply and provide explanation/description)
a. [] Designed to military or intelligence standards or specifications

b. m Designed for military application

c_ m Speclal characteristics (e.g. radiation-hardening ballistic protection. hard points, TEMPEST capability, thermal or infrared signature reduction capability,
surveillance or intelligence gathering capabilityi.

d. D Commercia| item modified for military application provide nomenclature and model number to differentiate from commercial item.
e. g Commercial item modified for military application state specific distinct difference between original commercial item and modified item.
f. [:] Services (provide comparable information as that which provided above and by marking this boat indicate it is for services versus hardwarei.

Explanation/Description (lf the product is included in a higher assembly or end item, identify each higher assembly or end item that incorporates the product and its
use. identify all military applications and military capabilities of the product. and any equivalent products used for military application.) Summarize technical details of

s§@l characteristics ge,g. if image intensiiication tubes. provide level of technology. su<h 05 Geh ||, 690 ll|. eic.l- (llmited to 600charactersl

 

 

 

9. Military/Commerch Modification of Commodity:
a. Was this commodity originally specifically designed or developed for a military use?

[:] Yes g No

b. Was this commodity originally civil and subsequently adapted, conhgured or modified for a military use?
|] Yes E No

c. Was this commodity originally military and subsequently adapted reconfrgured or modified for commercial use7
n Yes g No

d. Specificaily define the modifications/changes and capabilities added to the commodity. List any differences in form. fit and/or function between the modified and
unmodified versions: (Iimr'red to 600characrers)

F/T

[] Supporting Documentation Attached

 

 

10. Status of Product Dovelopmant: (Mark the status of the product and provide an explanation/description)
a. g ln Development

 

b. m in Use
§planation/Descrrption (llmited ro 4000 characters)
ho the best of Defense Distributed's knowledge this me is cMual rn nature and has not been used reproduce the plastic cylinders j

 

[] Supporting Documentation Attached

 

11. Fundlng Hlstory: (Check all that apply)
include funding source contract or subcontract number and supporting documentation

a. m USG Agency
b. |:] Foreign Government Agency
c. m U.S. or Foreign Contractor
u. g self Funded
e. [] University Funded
Explanation/Description (llmited to 600 characrers)
o the best of Defense Dlstrlbuted's knowledge Mozi received no funding from any outside source for the creation of the file _l

 

 

 

05-4076 Page 3016
ol-?oi)

Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 15 of 26 Page|D: 393

 

m Supporting Documentation Attached

 

tz. U.S. and/or Forelgn Availability of maj Ptoducts: (Enter Foreign Export Controls, if known)
[:] None

Manufacturer: Alian Howard

Commodity: Ruger ltmltilio stainless steel .22 automatic pistol with 6" barrel CAD Fiies

 

 

 

 

 

 

Model |: N/A in Use/fn Deveiopment: in Use
Foteign Exports Controi:
Manufacturer's Website: h_ttp'J/grabcad.com/library/ruger-kmkiii6-stainless'steei-22-automatic~pistol~with-6~barrel

 

- sr

,¢,~..~.-r~.»

 
 

Manufacturer: Tom Prex

Commodity: .22ir pistol CAD nies
Model ¢: N/A in Use/in Development~. ln Use
Forelgn Exports Controi:
Manufacturer's Website: Mgrabcad.com/l|brary/le»pistol

 

 

Manufacturer Fred Works

Commodity. Browning Buclt Mark Threaded Barrel

Model I: NlA ln Use/in Development: ln Use
Foreign Exports Corttrol:
Manufacturet’s Website: MpJ/grakm.coMlbtaqmmning~buck-mark-threaded-barrei

E_x@nation/Description (llmited to 600 characters)

hese CAD files are for a models of a complete .22 pistol, lnduding the barrel and gnp, as well as other componean and the barrel of a .22 caliber pistol.
E Supporting Documentation Attached

 

 

 

 

13. Sales lnforrnation: (Se|ect One) (See Bloc|t l3 Template)
Military and commercial sales data must be provided, as well as listing of the military and commercial customers The information pertains specifically to the commodity/
service in Blocit 8. Complete the attachment if applicable. (Note: Submit one single file up to 35MB with sales information Do not separate the sales informath into

multiple smaller filesJ
m Sales information Attachment (Iemnlate_'§}p_ckj}_§a_|gs_mmgjjgg)i\ttached

g No Sales

 

 

1|. Has this Commodity been: (limlred to 100 characters)
a. Has this Commodity been previously F.xported g Ve$ m No n Unknown

lf fe cite U.S. Govemment licensing iurisdlction and provide license numberx if applicable
osted to the internet as public domain information

b. Has this Commodity been the subject of a Prior 07 m YES [:] N0 g Unknown

if yes, Cite CJ Number.
iApplicant should list any prior C.i even if not submitted by them. e.gv submitted by Original £quipment Manufacturer lOEM). by the U.S. Govemment or by a third

E'H-)

 

1

c. Has this Commodity been subject to a Department of Commerce Ciassihcation Request? m Ye$ m N° g U"k"°“'"
fles. cite U$. Govemment licensing jurisdiction and if under Department of Commerce. attach a copy with Export Control Ciassification Number (ECCN).

dr Has this Commodity been Exponed under a Foreign Military Saie (FMS) case? [:] Y€S [:] NO EUnknown
if yes, cite Foreign Military Sale iFMS) case numbers

w

‘l 5. Description of the commodity and final DDTC action will be posted on the DDYC website for public access based on the lnfon'nation provided in Block 5 and
any other descriptive information provided below. lf you believe that any information contained in block 5 is proprietary, please specifically ldentify the
lnfon'netion below end provide summarized rationale for DDTC to consider withholding the information from public notice: fUmired ioowcharacters. Addirional
justification may be provided as an attachmenr,)

[N/A j

1 6. nelson for Subm|ttlng CJ: (llmited to ooacharocrerx)
|Per request or otcc/eNo. case No. isooo i444. j

 

 

 

 

 

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Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 16 of 26 Page|D: 394

 

'i7. Suggosted ll.S. Munitions Llst or Commerce Control Llst Number:

a. u.S. Munitions Ltst (22 C F.R. 121) Category/Sub Category
[~/A ]

b. Export Admlnlstratlon Regulations (lS C.F.fl 730-774), Export Control (lasslfication Number

L 1

 

18. other Misce|laneous lnformation to be Considerod that is not Otherwise included in this Form: (e.g. U.S. Govemment Agency and point of contact information.)
(llmited to 300 characterx)

 

 

 

 

g Supporting Documentation Attached

 

 

 

gang page 5 of 6

Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 17 of 26 Page|D: 395

 

 

1 9. Applicant/Submittor‘s Certffication: Note: ONL¥ this one page must be printed. sig'ied. and scanned as an attachment
Under Penalty According to Federal l.aw (See 22 CFR 127. 22 US.C 2778, and 22 lJ.S.C lOOll.
l am the authorized employee of the company 'ted in Bloclt i. or a third party as described in Blocir 2 authorized to submit on behalf of the company in Blocit 4. and

certify as to the accuracy and complei e information provided and have not knowingly omitted information that could have an impact on the final
determin on issued by the U.S art of State. Furthermore, l have specific authority to release for publication the text contained in Blodt S.

‘- ‘ .)._..__.,

“" \ `\Jahnam.nanwig osm/2013

/ Sigrfature _,,, /"" Pnnted Name Date
checking this box. Ipplicant authori TC to ilthe Commodity lurisdiction determination as weil as any other information associated with this case.
* lie Commodity furlsdictior\ determ ne w mailed to the address below if box is not diedtied.

    
   
   
  

amc lahna NL Hartwlg
Tltle: Partner

 

 

 

 

 

Company. Wiliiams Muiien PC

Address: 1666 K St., NW. Suite 1200

Clty. Washington State; DC le Codz 20006
Phor\e lt 202-293-8145 £mall: j!_'iM` ` filmsmul|en.com

 

 

 

 

 

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Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 18 of 26 Page|D: 396

 

1. Applicant's lnformotion: (Select all that opplyl
Applicantix g Govemrnent n Manufacturer|:] Exporter E] Manufacturer'sRepresentatlve® Other

App|icantNamec'r , , r` Defense Distributed

Addre$$: 711 W. 32nd Sttee§ Apt. 115

City: Austin sum m
Pt\one ¢- 501-743~9680 PM/DDTC Registrant€ode: iii applicabiel

Zip Code; 78705

 

Namec vomiarcomxu Cody R. Wilson
Phone |: 501-743-9680 Fax ¢: Emall: crw@defdist.org

 

2. Sobrnltter lnformadon llothar than Appllcant in Bioclt 1: iComplete ii applicablel

 

 

 

 

 

 

Submittei Name: ir r , f w williams MK

Addfess: 1666 K St.. NW. Suite 1200

cny_ washington State: DC Zip Code:
Phone |: 202-293-814$ PM/DDTC Registrant Code: m applicab|e,

 

 

Name: wmatcmmn Jahna M. Hartwig

Phone |: 202-293-814$ Fax I: Emai|: ihartwngwiliiamsmullen.com
m Attachment Agmgnza_t[m from Applicant to Submitter authorizing submittei to file on its behalf and to release information in Bioclt S.

 

 

 

3. transaction Descrlptlom iNote: No request lnvolvlng Classified information will be considered )
this Application Represents:

l E New Request

b- l:l kesubmission Prior Ci Case Number:
g Betumed without Aciion iRwAi
l:l Reconslderation tlnciode Prioi CJ Determination Case Number)
Summatize Reason for Resubmission mmiredro imc/owl

 

Reiated to Compiiance Maner riimimrra izoo¢r»aia¢rers) E ¥es I:] No
ii m ovide disclosure and/or case number if available and details to include ti S Govemment Point of Contact lf status chan ~ - s advise DDT(.
i'H s¢ ssu-mitt aterequesto v mm etterto "'-enseistnut - --t- ay . ' ' 1 ‘ '

       

  
    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ned to this matter is Ms. Br'idget Van Buren.
\§._cammsuiity_mzinsiim
4. Select Commodity `l'¥i|¢? (Se|ect all that apply) (22 C.F.R. 120.9. 120.10 and 121.81
n End item l:l Component/Major [:] Component/Minor m Pan m Accessory/Atnchment
m Software m Firmware m Services m System g lnformation or Technical Data
5. Commodity/Suer lnformation: (Note. Complete ali that apply and if not applicable. enter "NIA'.)
a. Product Name: vZ-Sa Front Sight Data Fiies
b. Model/Version Numbei: N/A
c. Pan Number: N/A
o. Nationai Stocli Numben N/A
e. Oihei ioemiiier. iii appii¢aui¢) N/A
i. Manufacturer: Reimo Soosaar
g. Service: N/A
h. Generic Description: Soiidworlts CAD file and rendering of a model of a site for a VZ~SS rifle.
own hg¢ zors

01~1013

Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 19 of 26 Page|D: 397

 

l Manufacturer‘s Website: www.defdist.org

i, Commodity/Service Website: httpdldelcad.com/vz-SB-front'sightl

Note'. Only one commodity may be entered; variants require separate submission However, variants of a commodity or a family of commodities closely related. that
is. major characteristics and descriptive information of the commodity are essentially the same and would be included in the same U.S. Munitions i.ist category and
subcategory may be considered

 

6. Addltiorial€ommod|ty lnformotlon/Do¢urnentation: n
iBrochures. technical lnformation, Drawlngs, Schematics, Biue Pn'rits. Course SyiiabusIHandouts. Tralning Materiais.) Attach product datasheet or other technical
information such that an informed technical evaluation is possible.) Note: cost in liS. Doilars. if unit is not listed in drop down iist, e.g. service or trainingl enter the
commodity

a. Cost Perunit: 50.00 Copies
b. Documentaiion Attache¢t g

c. Patent information: n/a

 

7. Commodity/$ervlco Doscription: (llmited to lloociiaracters)
Briei summary of commodity or service ieg. component used in aircraft communication system)_ Descrlbe the product's use twhat it does. how it operatesI the
components/system in which it is used and all current usesl. Specify if commodity/service is controlled or restricted for public release by tl.$. Government
e es are a or s e in l e ormat an aren er ng o a m a sig t or a - e. li printed on a 30 printer and used with a weaponJ
he si ht would be expected to faii.

 

 

8. identify any special and/or unique characteristics/capabilities (Mark all boxes that apply and provide explanation/description)
a. m Deslgned to military or intelligence standards or specifications

b. m Designed for military application.

m Speciai characteristics (e.g. radiation-hardening ballistic protection. hard points. TEMFEST capability. thermal or infrared signature reduction capability.
surveillance or intelligence gathering capability).

d.|___\ Commercial item modified for military application, provide nomenclature and model number to differentiate from commercial item.
e. m Commercial item modified for military application. state specific distinct difference between original commercial item and modified item.
f. m Servlces (provide comparable information as that which provided above and by marking this box. indicate it is for services versus hardware).

Exp|anation/Description ilf the product ls included in a higher assembly or end ltem. identify each higher assembly or end item that incorporates the product and its
use. identify all military applications and military capabilities of the product and any equivalent products used for military application.) Summarize technical details of
ss§_ciai characteristics (e.g. if image intensii’ication tubesl provide level of technologyl such as Gen li. Gen lil, etc.). (llmited to 600choracrers)

 

 

9. Military/Commerciol Modlflcatlon of Commodity:
a Was this commodity originally specifically designed or developed for a mllltary use?

[:] ¥es g No

b, Was this commodity originally civil and subsequently adapted, configured or modified for a military use?
C] Yes ® No

ct Was this commodity originally military and subsequently adapted, reconf'igured or modified for commercial usei
E] ¥es E No

d. Specif”ically define the modifications/changes and capabilities added to the commodity. Llst any differences in form, fit and/or function between the modified and
unmodified versions: (llmited to 600 characters)

PIA J

E] Supporting Documentallon Attached

 

1 0. Status of Product Developrnent: (Mark the status of the product and provide an explanation/description)
a. g in Development

b. l:] in Use
Exglanation/Description iiimired ro 4000 characters)

o the best of Defense Distribuied's knowledge this file is conceptual in nature and has not been used to produce a plastic rifle sight modei. J
m Supporting Documentatlon Attached

 

11. Fundlng History: (Checii ali that apply)
include funding source contract or subcontract number and supporting documentation

a [:] USG Agency
b. m Foreign Government Agency
c_ [:] U.S. or Foreign Contractor
d. g Se|f Funded
e. m Universlty Funded
Explanation/Description (Iimiied to 600 characters)
ho the best of Defense Distributed's knowledge Reimo Soosaar received no funding from any outside source for the creation of the iiie_ l

 

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cum 1 Page 3 of 5

 

Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 20 of 26 Page|D: 398

 

[:] Supporting Documentation Attached

 

12. U.S. and/or Foreign Availability of |dgmkpj Products: (Enter Foreign Export Controls, if knownl

l:] None

 

 

Manufacturer Reimo Soosaar

Commodity: front sight for vz.SB rifle
Model l: N/A In use/in Development: ln Use

Foreign E)rports Conttol:
Manufacturer's Website: http;//grabcad.comllibrary/front-sight-for-vz-dot-SS-rifle

Ex anation/Descri tion llimi'red io 600characrers)
Eis file was published on Thingiverse in December 2012 and is still available on that site. l

® Supporting Documentation Attached

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'l$. Sales lnfonnation: (Select One) (See Blocir 13 Template)
Military and commercial sales data must be provided, as well as listing of the military and commercial customers The information pertains specifically to the commodity/
service in Blocir 8. Complete the attachment if applicable (Note: Submit one single file up to 35MB with sales information Do not separate the sales information into

multiple smaller files.)
[:] Sales information Attachment Maig.xlnforma.ti_on_”)mached
® No Sales

 

 

 

 

 

 

14. Has this Commodity been: (iirrrited to ioacharacters)
a. Has this Commodity been Previously Exported g yes m N° m U"""°W"
if cite U$. Government llcensin urisdiction and de license number ifa licablew
osted to the lntemet as public domain lnformation. ]

b. Has this Commodity been the sublect of a Prior Cl? m Yes l:] N° m u“m"

if yes, Cite Ci Number.
lAppl`icant should list any prior Cl even if not submitted by them. e.g.. submitted by Origlnal Equipment Manufacturer (OF.M), by the US. Government or by a third

party.)

c. Has this Commodity been subject to a Department of Commerce Ciassiiication Request? \:] Yes [:] N° g V"k"°W"
if yes. cite U.S. Govemment licensing jurisdiction and if under Department of Commerce, attach a copy with Export Control Clgssification Number (ECCN).

 

d. Has mrs commodity been waited under a Foreign Military sale iFMs) casey I:l let ij N° EU“*"°‘~"
if yes, cite Foreign Military Sale (FMSl case number.

|

 

15. Descrlption of the commodity and final DDTC action will be posted on the DDTC websita for public access based on the information provided in Bloclt 5 and
any other descriptive information provided below. if you believe that any information contained in Bloclt 5 ls proprietary. please specifically identify the

information below and provide summarized rationale for DD‘¥C to consider withholding the information from public notice: (Urnlred to 600 characters Addi'tional
justification may be provided as an attachment.)

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16. lteason for Submitting CJ: (llmited roéoocharacrerr)
[Pei request or orcc/sNo. case No. 130001444. ]

 

1 7. Suggested U.S. Munitions Llst or Commerce Control List Number:
a. U.S. Munitions l.ist (22 C.F.R 121) Category/Sub Category
in i
b. Export Administration Regulations llS C.F.R 730-774), Export Control Classification Number
in i
18. Othor Mlscellaneous information to be Consldorod that is not Othorwisa included in this Form: (e.g. U$. Government Agency and point of contact informationJ
(ilmlred to 300 charactersl

 

 

 

 

 

g Supporting Documentation Attached

 

 

 

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Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 21 of 26 Page|D: 399

 

 

 

19.Applanfl$uan1¢ati£cluoa:rdotc ONL¥\Nsmepagems¥bep\ntcd.qned.andxamedasmamdmenL
Unde| P¢\I|ty Ac<ording toFedeu| sz(See 22 (FR127, 22 U.S.C. 2778.and 12 U.S.C. 100\].
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Su!¢ DC HCodz lm

O¢r~ sza\z\
Fhone|: 202-293-8|45 Ema|l: an

 

 

 

 

 

 

 

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Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 22 of 26 Page|D: 400

 

 

1. Appllunt‘s ln'ormatlon: (Sele¢t all that applyl
Appllcantls: m Govemrnent |:] Manufacturer m Exporter [:] Manufacturer‘s Replesentative® other

 

Appllcant Name: lc»mpmy. ¢‘ w Delense Dlstrlbuted

Address: 711 W. Jan Street, ApL 11§

Clty. Austln S\ate: TX Zip Codec 78705
Phone |; 501-743-9680 PM/DDTC Registrant Code: m app|me)

, , , , _ m m
' Remdil\ £'

Name: cram annum Cody R \Mlson

Phone ¢: 501-743~9680 Fax l: Email: crw@defdlst.org

 

2. Submltter Informatlon ll ether than Appll¢ant ll\ Blo¢l¢ 1: lComplece lf appllcab|el

 

 

 

 

 

Submltter Name: vf , , r‘ , Wll|lams Mullen PC

Address: 1666 K St. NW, Suite 1200

Clty. wa;hn_\g¢qn State: DC le Code: 20006
Phone I: 202~293-8145 PM/DDTC Regl$tlant Codec af app|kab|e)

 

 

 

Name: mm¢o¢comc) Jahna M. lunqu
Phone ¢: 202-293~814$ Fax ¢: Ema|l: martwlggwllllamsmullen.com

E] Attachment: thrlzatlgn from Appllcant to Submltter autho¢lzlng submlner to llle on its behalf and to release lnlormatlon ln Block S.

 

 

 

3. Transaction Descrlptlon: (Note: No request lnvolving Classlfled lnlormatlon will be considered.)
Thls Appllcatlon Represents:

l g New Requesl

b- U mbmasseon m c) case Number:
l] stemmed without man mwA)
g Reconslderatlon llnclude Prlor CJ Determlnatlon Case Number)
Summ§£z_l_:jeasonll§ubmissg\ (llmnedta 1200 characters

l l

Related to Compliance Maneuumm-dw lzoa¢nam¢n) ® Ves [:] No

- rovide disclosure and/or case number ll available and details to lnc|ude U.S. Govemment Polnt of Contact ll` status cha - es advise DDTC.
das su - m~ - at '

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ned to this matte_r ls Ms. Brldggt Van Buren.

S=_§szmms_dlx¥_lkmlmlm
4. S¢loct Commodity‘l'ype: (Select all that app|y) (22 C.F.R 120.9. 120.10 and 121 .8)

l:l End hem l:l Component/Major m Component/Mlnor n Part l:] Accessory/Attachment

g Software m Flrmware m Servlces m System lnl‘ormatlon or lechnlcal Data
5. Commodltyl$ervke lnformatlon: (Note: Complete all that apply and ll not applicable, enter 'N/A*.)

a. Product Name: Sprlngfleld XD-40 Tactical Slide Assembly Data Files

b. Model/Verslon Numbet: N/A

c. Part Numbet: N/A

d Natlonal Stoclc Number: N/A

e. Other ldennfler. m appuuble) N/A

l. Manufacturer Gary 6

g. Servlce: N/A

h. Generic Desc¢iptlon: Nlneteen Solldworks CAD data liles for components of a Springlleld XD-40 Tactlcal Slide Assemb|y
os-aova Page 2 016

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Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 23 of 26 Page|D: 401

 

l Manufacturer's Website: www.deidist.org

1. Commodity/Service Website: httch/defcad.com/spnngneid-x¢dO-tanrca|-slide»assembly/

Note; Only one commodity may be entered; variants require separate submission However. variants of a commodity or a family of commodities closely related. that
is, major characteristh and descriptive information of the commodity are essentially the same and would be included in the same u.S. Munitions Llst category and
subcategory may be considered

 

6. Additionai Commodity lnformation/Documentation:
(Brochures, `i'echnlcal information. Drawings. Schematlcs. Biue Frints. Course Syllabus/Handouts. Trainrng Materials.l Attach product datasheet or other technical
information such that an informed technical evaluation is possibierl Note: cost in U.S. Doilars. if unit is not listed in drop down iist. e.g. service or training. enter the
commodity

 

a. CostPerUnit: $0.00 Copies
b. Documentarion Attached: E
c. Fatentlnformation: n/a

 

 

7. Commodity/Service Description: (lr'mr'red to 1200 characters)
Brief summary of commodity or service le.g. component used rn aircraft communication system). Describe the product's use iwhat lt does. how it operates. the
components/system in which it is used and all current uses). Specify if commodity/service is controlled or restricted for public release by U§. Government.

 

e es are n neteen omputer esrgn ata es n e o or e format for models of components of a pistol slide loril"ie Sprlngfield
D-40. The components il printed on a 30 printer. would be plastic pieces in the shape of the components of the slide assembly, but would be expected to fall ll used
ith a weapon.

 

 

 

8. identify any special and/or unique chancteristlcslcapabillties: (Mark all boxes that apply and provide explanation/descriptionl
a. m Designed to military or intelligence standards or specifications
b. m Designed for military application

c m Special dtaracterlstics le.g. radiation-hardening ballistic protection. hard points, TEMPEST capabllity. thermal or infrared signature reduction capabillty,
surveillance or intelligence gathering capabilityi.

d. |:] Commercla| item modified for military application, provide nomenclature and model number to differentiate from commercial item.

e. n Commercla| item modihed for military application, state specific distinct difference between original commercial item and modified ltem.

f. |:] Services iorovide comparable information as that which provided above and by marking this box. indicate it rs for services versus hardwarei.
ExpianationlDescription llf the product is Included in a higher assembly or end item. identify each higher assembly or end item that incorporates the product and its

use. identify all military applications and military capabilities of the product and any equivalent products used for military application.) Summarize technical details of
sYial characteristics le.g. ll image intensilication tubes, provide level of technology, such as Gen il, Gen lii, etc). (llmited room characters)

 

 

d

 

9. Military/Commech Modification of Commodity:
a. Was this commodity originally specifically designed or developed for a military use7

[:] Yes § No

b. Was this commodity originally civil and subsequently adapted. configured or modihed for a military use7
E] ¥es g No

c. Was this commodity originally military and subsequently adapted, reconfigured or modified for commercial use7
m Ves E No

d. Speciflcally define the modifications/changes and capabilities added to the commodity Llst any differences in form, fit and/or function between the modified and
unmodified versions: (llmited to 600charocters)

|"'" l

[:] Supporting Documentation Attached

 

10. Status of product Development: (Mark the status of the product and provide an expianation/descriptionl
a. g in Deve|opment
b. m ln Use
Explanation/Description {Iimired ro 4000 characters)
llc the best of Defense Distributed's knowledge this l"rle is concng in nature and has not been used to produce the plastic model of the slide assembly.
[:] Supporting Documentation Attached

 

1 1. Funding l-listory: lCheck all that applyl
include funding source contract or subcontract number and supporting documentation

ar 13 USG Agency

b. m Foreign Govemrnent Agency

c. [] U.S. or Forelgn Contractor

d. sen Funded

e. |:| university Funded

Ex lanation/Descrlption (llmited t0600characrers)

llc the best of Defense Distributed`s knowledge Gary 6 received no funding from any outside source for the creation of the file.

 

 

 

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Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 24 of 26 Page|D: 402

 

[:] Supporting Documentation Attached

 

12. U.S. and/or Forelgn Avallabllity of |dgm|_g| Products: l£nter Foreign Ereport Contro|s. il known)

m ~ooo m rr
-' move m m

Manufacturer~. gmc Soos_aar

Commodity. pistol Slide CAD files

Model ir: N/A in Use/in Development: in Use

Foreign F.xports Controi:

 

Manulacturer's Website: http‘J/grabcad.com/library/pistoi~siide-l

Manufacturer Dominic Megali

Commodity: Glock 21 slide

Model 8: N/A ln Use/in Development~ in Use
Foreign Exports Controi:
Manulacturer's Website: httM_raww.coW|ibrag/glxk-ll-slide

mem nw ' * " ` ’ '* **`"'" ' _

Manufacturer: Steven Kiley

 

   

Commodity'. Reai sig 2226 slide
Model I: N/A ln Use/in Deveiopment: ln use
Foreign Exports Controi:
Manulacturer's Website: htth/grabcad.com/|ibrarylreal-sig-p226-s|lde
Manulacturer: mutlu
CommoditY. Colt ml9i i slide assembly
Model ll: N/A in Use/in Development: ln Use
Foreign Exports Controi:
Manulacturer's Website: http://qtabcad.com/l_ibrary/colt»m191 l-slideaisembly
Explanatlon/Descri|:_rtion (llmited to 600 characters)

ese CAD fileMin drawings for models of various slide mechanisms

[:] Supporting Documentation Attached

 

    

 

 

 

 

13. Sales informations (Select One) (See Blocl¢ 13 Template)

Military and commercial sales data must be provided. as well as listing of the military and commercial customers The information penains specifically to the commodity/
service in B|ock 8. Complete the attachment if applicable (Note: Submit one single file up to 3SMB with sales information Do not separate the sales information into
multiple smaller liles.)

['_'] Sales information Attachment Cenmmll§almm§_ti_o_rgmtached
E No Sales

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14. Has this Commodity boom (llmited to lwc/iaracters)

a. Has this Commodity been Previously Exported m Y“ m N° m U"""°W"
lfyes. cite U.S. Govemment licensing jurisdiction andJarovi'de license number. il applicable

 

 

osted to the internet as ublic domain information l

o. Has this Commodity been the subject of a Prior CJi l:l Yes l:] No E Unknown
lf yes, Cite CJ Number.

(Applicant should list any prior CJ even il not submitted by them. e.g. submitted by Original Equipment Manufacturer (OEM). by the U.S. Govemment or by a third
M-l

c_ Has this Commodity been subject to a Department of Commerce Classlfication Request? m Y“ m N° g u“k"°W“
if yes, cite US. Govemth licensing jurisdiction and if under Department of Commerce, attach a copy with Export Contro| Classification Number lECCN).

 

d. nas this commodity been opened under a roreign unitary sale rFMs) caser [] Yes El N° EV"R"°W"
lLves. cite Foreign Military Sale (FMS) case number.

 

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Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 25 of 26 Page|D: 403

 

1 5. Dascription of the commodity and final DDTC action will be posted on the DDTC website for public access based on the information provided in Biock 5 and
any other descriptive information provided beiow. if you believe that any inlonnation contained in Bioclt 5 is proprietary, please specifically identify the
information below and provide summarized rationale for DDTC to consider withholding the information from public notica: (Umited to600characters. Addr`h'onal
justification may be provided as an arrachmenr.)

|N/A ]

 

1 6. iteason for submitting CJ: armed to ooa¢namcren)
leer request oroch/£No.case No. \3-0001444. ]

 

17. Suggastad U.S. Munitions List or Commerce Control List Number:
a. U$. Munitions List (22 C.F.i't 121) Category/Sub Category

N/A j

b. Export Admlnistration Regulatvons (lS C.F.R 730-774). Export Contro| Ciassification Number
[N/A |

 

18. other Miscallaneous information to be Considered that is not otherwise included in this Form: (e,g. U.S. Govemment Agency and point of contact information.)
(limired to 300 characters)

 

 

 

 

g Suppotting bocumentation Attached

 

 

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Case 3:19-cV-O4753 Document 1-26 Filed 02/05/19 Page 26 of 26 Page|D: 404

 

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certify asto theacc\ncy and completeness

 

 
  
 

19. Appiicantl$uhmitter‘s Cettilkation: Note ONLV this one page must be printed, signed and scanned as an attachment
Under Fenalty Accofding bo Fedelal Law (See 22 CFR 127. 21 U§.C. 2778. and 27 \,lS.C. 1001).

iam the authorized employee ofthe company cited inBlodt i. ot

a third pattyasdescribed lnBiodtZauthorizedtosubmlton behalfofthecompanyln!lodt4,and
information provided and have not knowingly omitted information that could have an impact on the final
State. furthermore | have specific authority to release for publication the text contained in Block 5.

 

  
   

r e Commodity)urisdiction denth

this box. Applkant authorizes Dl)TC t

' "°"”'”""“"‘-imm naming osm/2013
/ signatufe .»~"’ mined mine one

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;'Commodity Jurisdiction determination as wdl as any other information assodated with this case.
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Name: Jahna M. Hartwij

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Comoany~. Willams Mullen PC

Mdresx 1666 i< St, NW‘ Suite 1200

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